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                                      United States District Court
                                         DISTRICT OF MONTANA BUTTE DIVISION


 UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE


 V.
                                                                                Case Number: CR 20-37-BU-DLC-l
 RAMON GOMEZ DELGADO                                                            USM Number: 94052-279
                                                                                Andrew J. Nelson
                                                                                Defendant’s Attorney


THE DEFENDANT:
       pleaded guilty to count(s)                            1 of the Indictment
 □     pleaded nolo contendere to count(s) which was
       accepted by the court
 □     was found guilty on count(s) after a plea of not
       Ruilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended        Count
 8 U.S.C. § 1326(a) and (b)(1) - Illegal Reentry                                                       10/19/2020




The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 □     The defendant has been found not guilty on count(s)
 □     Count(s) □ is      □ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  September 29. 2021
                                                                  Date cJ Imposition of Judgment



                                                                                A.
                                                                  Signature of Judge
                                                                                                         \//M
                                                                  Dana L. Christensen, District Judge
                                                                  United States District Court
                                                                  Name and Title ofJudge

                                                                  September 29. 2021
                                                                  Date
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DEFENDANT:                 RAMON GOMEZ DELGADO
CASE NUMBER:               CR20-37-BU-DLC-1

                                                      IMPRISONMENT

The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total term of:

Time served.


 n     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.
 □     The defendant shall surrender to the United States Marshal for this district:


          □     at                                  □       a.m.        □   p.m.       on


          □     as notified by the United States Marshal.

 □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


          □     before 2 p.m. on
          □     as notified by the United States Marshal,
          □     as notified by the Probation or Pretrial Services Office.



                                                               RETURN
1 have executed this judgment as follows:


         Defendant delivered on                                    to


at                                        with a certified copy of this judgment.




                                                                        UNITED STATES MARSHAL

                                                                        By:
                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                RAMON GOMEZ DELGADO
CASE NUMBER:              CR 20-37-BU-DLC-l

                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: No term of supervised release
imposed.
